IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE

 

NASHVILLE DIVISION
x
In re:
AREDYIA and ZOMETA No. 3:06-MD-1760
PRODUCTS LIABILITY LITIGATION JUDGE CAMPBELL
(MDL No. 1760) MAGISTRATE JUDGE BROWN

This Document Relates to: All Cases

 

x
PROPOSED CASE MANAGEMENT ORDER

This Case Management Order is hereby entered in all actions in Jn re: Aredia® and
Zometa® Products Liability Litigation, No. 3:06-MD-1760 (M.D. Tenn.) (“MDL 1760”).

This Order shall apply to all cases currently a part of MDL 1760, as well as all cases
subsequently filed in, removed to, or transferred to this Court as part of MDL 1760. In cases
subsequently filed in this District, the Clerk shall provide a copy of this Order to each plaintiff at
the time of filing of the complaint. In cases subsequently removed or transferred to this Court,
the Clerk shall provide a copy of this Order to each new party upon removal or transfer. This
Order vacates any prior case management or scheduling order issued by a federal court prior to
the transfer of a case to MDL 1760, including the case management orders entered in matters
pending before this Court prior to entry of the Order of the Judicial Panel on Multidistrict
Litigation (“JPML”) creating this MDL. The local rules of a federal transferor court will not be
binding on the parties once a case has been transferred to this MDL so long as the case remains
before this transferee court. As it relates to any event or filing in MDL 1760, the term “party”
means plaintiffs collectively and Novartis Pharmaceuticals Corporation individually. This Order

shall be binding on all parties with cases docketed in MDL 1760.

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L JURISDICTION AND VENUE.

A. The Plaintiffs contend that jurisdiction exists under 28 U.S.C. § 1332 because
there is diversity of citizenship and the amount in controversy exceeds $75,000 exclusive of
interests and costs. Plaintiffs contend that venue is proper pursuant to 28 U.S.C. § 1391(a)(1)
because the Defendant is subject to personal jurisdiction here and is therefore deemed to reside in
this district for venue purposes pursuant to 28 U.S.C. § 1391(c).

B. For the purposes of pre-trial proceedings, defendant has not challenged the
existence of diversity jurisdiction, but reserves the right to challenge venue as appropriate under
28 U.S.C. § 1404 or other applicable statutes.

Il. STATUS OF SERVICE AND RESPONSIVE PLEADINGS,

A. Plaintiffs have effectuated service on the single defendant of the cases currently in
MDL 1760 as of the date of this Order. There is no dispute regarding service in those cases.
However, defendant is not precluded from challenging the sufficiency of service in any case not
currently part of MDL 1760.

B. All proceedings in any case transferred to MDL 1760, now or in the future, are
stayed except (i) specific proceedings outlined in this Order or any subsequent order of the Court,
or (ii) any pending motions to remand presently before this Court. All prior written discovery
requests to which responses have not yet been served are deemed withdrawn and the party upon
whom the written discovery was served has no obligation to respond. All deadlines for filing an
answer or pre-answer motion are hereby stayed until sixty (60) days after the Clerk of this Court
establishes a specific case number for the case in the United States District Court for the Middle

District of Tennessee or the original complaint is served, whichever is later.

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Ill. PARTIES’ THEORIES OF THE CASE.

A. Plaintiffs’ Theory of the Case. Since, 1991, 1.9 million people have been
treated with Aredia. Since 2001, one million people have been treated with Zometa. According
to Novartis, Zometa is today the most widely used bisphosphonate in oncology. The Plaintiffs
seek compensatory damages and punitive damages for personal injuries. The theories of liability
are strict liability and negligence. In addition, the Plaintiffs seek certification of a class action for
the creation of a dental monitoring program for persons exposed to the drugs who do not yet have
osteonecrosis of the jaw. The large number of persons treated with Aredia and Zometa establish
that, when certified, the class will be made up of thousands of people who have taken both drugs.

Novartis filed a New Drug Application (NDA) for Aredia on December 20, 1989. The
NDA was approved by the Food and Drug Administration (FDA) on October 31, 1991. At that
time, the approved use was for the treatment of hypercaicemia of malignancy (HCM).
Subsequently, Aredia was approved for the treatment of Paget’s disease, osteolytic bone
metastases of breast cancer and osteolytic lesions of multiple myeloma. |

On December 21, 1999, Novartis filed a NDA for Zometa. The NDA was approved by the
FDA on August 20, 2001. As of that date, the approved use was for HCM. Subsequently, Zometa
was approved for the treatment of multiple myeloma and documented bone metastases from solid
tumors.

Both Aredia and Zometa are bisphosphonates. Bisphosphonates contain phosphorus. In
2001, the FDA began receiving reports of osteonecrosis of the jaw (ONJ) associated with
bisphosphonate therapy. This should have come as no surprise to Novartis. “Phossy jaw” first

appeared in a case series reported in Vienna in 1845. The condition was caused by exposure to

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white phosphorous during the manufacture of matches. The average time from first exposure to
diagnosis was five years. Occasionally, the period was as short as a few months. Also, it has
been reported that once taken, bisphosphonates remain in the body for more than twelve (12)
years.

Novartis admits receiving reports of ONJ in cancer patients treated with bisphosphonates
as early as December, 2002. As of that date, the labeling for Aredia and Zometa contained no
warnings or other information about ONJ. This is so even though the clinical trials for both
Aredia and Zometa contained patients with findings consistent with ONJ.

Novartis finally took some action in September, 2003, when the package insert for
Zometa was revised to contain the following language under post-marketing experiences in the
adverse events section:

Cases of osteonecrosis (primarily of the jaws) have been reported since
market introduction. Osteonecrosis of the jaws has other well documented multiple

risk factors. It is not possible to determine if these events are related to Zometa or

other bisphosphonates, to concomitant drugs or other therapies (e.g., chemotherapy,

radiotherapy. corticosteroid), to patient’s underlying disease, or to other comorbid

risk factors (e.g., anemia, infection, preexisting oral disease).

There were no changes made at that time to the package insert for Aredia.

In October, 2003, Novartis finally took some action with regard to Aredia when the
following paragraph was added to the package insert under post-marketing experiences in the
adverse events section:

Cases of osteonecrosis (primarily of the jaws) have been reported since
market introduction. Osteonecrosis of the jaws has other well documented multiple

risk factors. It is not possible to determine if these events are related to Zometa or

other bisphosphonates, to concomitant drugs or other therapies (e.g., chemotherapy,

radiotherapy, corticosteroid), to patients’s underlying disease, or to other comorbid
risk factors (e.g. anemia, infection, preexisting oral disease).

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In 2003, Robert E. Marx, DDS, Chairman of Oral and Maxillofacial Surgery at the
University of Miami School of Medicine, published a letter to the editor of the Journal of Oral
and Maxillofacial Surgery wherein he described 36 cases of painful bone exposure in the
mandible, maxilla or both, that were unresponsive to surgical or medical treatment. These
patients had received either Aredia, Zometa, or both.

In November, 2003, the FDA Office of Drug Safety (ODS) began a search of the FDA’s
Adverse Event Reporting System for reports of cases of osteonecrosis or osteomyelitis associated
with the use of Aredia, Zometa, Fosamax, or Actenol. In a memorandum dated August 25, 2004,
the ODS identified 139 cases of which 47 had taken Aredia only, 33 had taken Zometa only, and
59 had taken both Aredia and Zometa. The review concluded that the language in both the
Aredia and Zometa package inserts needed to be changed to highlight this adverse event as being
associated with the therapeutic class of bisphosphonates. In addition, the review concluded that
the labeling should be changed to reflect that the condition could be osetonecrosis, osteomyelitis
or a combination of the two.

In 2004, Salvatore L. Ruggiero, DMD, MD, Chief of Oral and Maxillofacial Surgery at
the Long Island Jewish Medical Center, in collaboration with others, published an article in the
Journal of Oral and Maxillofacial Surgery in which he described 63 cases of necrotic lesions in
the jaw. All 63 had one thing in common: they had all received chronic bisphosphonate therapy.

Of the 63 patients, 57 had taken either Aredia or Zometa, or both.

On March 4, 2005, the Oncologic Drugs Advisory Committee of the FDA conducted a

public hearing during which testimony was presented relating to the connection between

bisphosphonate therapy and osteonecrosis of the jaw. Part of the testimony included an analysis

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of the mean time from exposure to the appearance of suspicious findings. For Aredia, the mean
time was just under six years; for Zometa, 18 months. The need for monitoring was
acknowledged by Novartis and it submitted to the Committee a list of recommendations for the
prevention, diagnosis and treatment of osteonecrosis of the jaw. These recommendations are a
starting point for the creation of the dental monitoring program sought by Plaintiffs in their
complaint and request for class certification. Novartis’s recommendations include: education of
patients regarding the importance of good dental hygiene and symptom reporting; physical and
dental evaluation; and imaging with panoramic radiographs. Novartis further recommended that
these evaluations occur at a minimum of every six months.

The facts clearly establish that Novartis knew or should have known of the risk of
osteonecrosis and/or osteomyelitis of the jaw at the time it first sold Aredia in 1991 and Zometa
in 2001. That knowledge only increased with time, yet Novartis did nothing to warn prescribers
or users of Aredia until October, 2003 and of Zometa until September, 2003. Even then, the
warnings provided were inadequate and were not made available to dentists or oral surgeons.
This inexcusable failure to warn supports Plaintiffs’ claim for punitive damages and the necessity
for a dental monitoring program. The facts establish the existence of a readily definable class of
thousands of persons who took both Aredia and Zometa and which have already developed, or
are at significant risk of developing, osteonecrosis and/or osteomyelitis of the jaw. The funding
by Novartis of a dental monitoring program similar to, but more complete than the one
recommended to the FDA earlier this year, will serve to reduce the risk of developing these
conditions. It will also lead to a more timely diagnosis and treatment of the conditions should

they develop.

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B. Defendant’s Theory of the Case.

Plaintiffs allegedly either have osteonecrosis of the jaw (“ONJ’”) or are at a significantly
increased risk of developing it as a result of using Aredia® and/or Zometa®, both of which are
distributed by Novartis Pharmaceuticals Corporation (“NPC”).' Aredia® and Zometa® are used
by cancer patients with multiple myeloma, metastases to the bone from certain types of cancers,
or hypercalcemia of malignancy. Patients with multiple myeloma or bone metastases from solid
cancerous tumors are susceptible to debilitating bone fractures, severe bone pain, spinal
compression, and other skeletal related events (“SREs”). Hypercalcemia is increased calcium in
the blood resulting from an imbalance in the bone remodeling process that occurs in some cancer
patients. It can result in impairment of various bodily systems, coma, and death. Aredia® and
Zometa® reduce the number, and delay the time to first onset, of SREs suffered by these patients
and treat hypercalcemia of malignancy. As a result, these drugs provide significant, scientifically
documented benefits to their users by enabling them to enjoy a vastly improved quality of life
and avoid potentially grave complications of SREs and hypercalcemia.

ONJ is a rare, ill defined, and poorly understood condition with an undetermined
etiology. There are multiple risk factors for developing ONJ, including but not limited to trauma

to the jaw, dental surgery, cancer itself, treatment with corticosteroids, hormone therapy, and

 

’ Aredia” is the trade name under which NPC distributes the drug pamidronate disodium for intravenous infusion.
The Food and Drug Administration (“FDA”) first approved it for use in 1991, and Aredia® is indicated for the
treatment of hypercalcemia associated with malignancy; Paget’s disease of bone; osteolytic bone metastases of breast
cancer; and osteolytic lesions of multiple myeloma. Zometa” is the trade name under which NPC distributes the
drug zoledronic acid for intravenous infusion. The FDA first approved Zometa® for use in 2001. Zometa® is
indicated for the treatment of hypercalcemia of malignancy; multiple myeloma; and bone metastases from solid
tumors (including prostate and other cancers).

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poor dental hygiene. Further, there are several other disorders that present with symptoms
similar to ONJ, but are in fact distinct conditions.

Plaintiffs’ claims fail for several reasons. First, the claims are preempted. Plaintiffs’
state law tort claims alleging that NPC’s warnings were deficient conflict with the FDA’s
regulatory system — the same system that has continuously approved the labeling and marketing
for Aredia® and Zometa” — and therefore must be dismissed.

Second, no scientifically reliable evidence establishes a causal relationship between
treatment with Aredia® or Zometa® and ONJ. Plaintiffs only refer to unreliable case reports or
retrospective chart reviews — none of which are a suitable basis for a causation determination
under applicable law. Additionally, no dependable science establishes a mechanism of action
regarding how either product allegedly causes ONJ.

Third, under any applicable legal standard, including but not limited to: a risk/benefit
analysis; the Restatement (Second) of Torts § 402A, Comment K; or Restatement (Third) of
Torts Product Liability $$ 4, 6, any alleged undisclosed risk posed by treatment with either or
both drugs is outweighed by the benefits provided by them, thereby defeating plaintiffs’ claims.
Aredia® and Zometa® allow seriously ill cancer patients to engage in more of their normal
activities because of the substantially reduced risk of SREs. Even if reliable science were to
establish that ONJ is a possible side effect of using either product (which it currently does not),
expert and other testimony will demonstrate that physicians prescribed and will continue to
prescribe Aredia® and Zometa® because their benefits clearly outweigh any alleged risks and
physicians would likely prescribe the drugs regardless of what language is or was in place in the

labeling.

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Fourth, plaintiffs have identified no safer alternative design and have provided no
evidence that the state of the art, assumption of risk, the learned intermediary doctrine, or other
similar defenses are inapplicable. The labeling has always contained various warnings approved
by the FDA as appropriate at the given time.

In addition to the above substantive deficiencies, plaintiffs’ request for a dental
monitoring class fails to satisfy Federal Rule of Civil Procedure 23’s certification requirements.
In this MDL, the “general causation” inquiry will focus in part on whether either Aredia® or
Zometa® can be isolated as the cause of ONJ in cancer patients receiving chemotherapy, radiation
treatments, or other treatments or with other conditions that are independent risk factors for ONJ.

Similarly, the specific causation analysis is inherently individual — it will require an examination
of, among other things, each individual’s medical history, what other risk factors for ONJ are
present in that plaintiff, and what treatment protocol is appropriate for that plaintiff given his or
her inherently unique circumstances. Further, plaintiffs suffer from several different cancers and
were prescribed the drug(s) by different doctors at different times, thereby potentially receiving
different information regarding the risk associated with Aredia® or Zometa® use, In addition to
sharing no meaningful common factual issues, plaintiffs seek a nationwide medical monitoring
class even though no uniformity exists among various states’ laws on either the availability of
medical monitoring as either an independent cause of action or a remedy or on the elements of
the underlying medical monitoring cause of action. Class certification is inappropriate in such

circumstances.”

 

For many of the same reasons, the individual plaintiffs’ claims are not properly joined in one action, even under the
permissive standards of Federal Rule of Civil Procedure 20(a). See Thorn, et ai. v. Novartis Pharms. Corp., No.
3:04-CV-586 (E.D. Tenn. Aug. 30, 2005) (Docket #s 73, 74) (Jordan, $.J.) (denying joinder in part because

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Medical monitoring is not an appropriate remedy in these cases because plaintiffs cannot
meet any potentially applicable state law burden for such relief, including for example showing
that a substantially increased risk exists, that uniformly useful diagnostic testing is available to
allow “early detection”, or that uniform preventative measures apply.

IV. MOTIONS AND SERVICE.

A. Motions. Motion practice shall be governed by applicable Federal and Local
Rules except as otherwise provided herein or in any subsequent case management order. Absent
an Order of the Court, briefs in response to all motions shall be filed no later than twenty-eight
(28) days after the date of service. Replies may be filed without leave of Court, and shall be filed
within fourteen (14) days after service of the response. In calculating the time periods set forth in
this Order, the provisions of Fed. R. Civ. P. 5 and 6 apply. No additional memorandum of law
shall be permitted without leave of court.

B. Service of Documents Not Filed With the Court. A party serving a document
not filed with the Court that applies to all cases in the MDL shall provide one (1) copy to
Plaintiffs’ Liaison Counsel and one (1) copy to Defendant’s Lead Counsel. Plaintiff's Liaison
Counsel will be responsible for providing copies of the document to all other plaintiffs’ counsel.
A party serving a document not filed with the Court that applies only to a specific action or
actions shall provide one (1) copy to Designated Counsel as described below in the specific
action or actions and one (1) copy to Defendant’s Lead Counsel. Service shall be made via U.S.

Mail and either electronic mail in PDF format, overnight courier service, or facsimile

 

proposed plaintiffs’ claims did not arise out of the same transaction or occurrence as pending claims). The personal
injury claims are also ill suited for certification under Rule 23.

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transmission, reserving to any counsel of record the right to waive, in writing, all or any aspect of
said service.
v. SUBSTITUTION OF PLAINTIFFS.

In the event that a plaintiff dies before his or her individual action is remanded, the
following procedures shall govern the substitution of an individual as plaintiff in place of the
deceased plaintiff:

A. Suggestion of Death. Within thirty (30) days of entry of this Order or the death
of a plaintiff, whichever is later, plaintiff's counsel shall file a “Suggestion of Death” that
identifies the plaintiff and describes the time, date, and circumstances of the plaintiff's death.

B. Timing of Motion for Substitution. The ninety (90) day time period for filing a
Motion for Substitution, as required by Fed. R. Civ. P. 25(a), will commence upon the filing of a
Suggestion of Death or upon the passage of 30 days from the entry of this Order, whichever is
later.

Cc. Contents of Motion for Substitution.

1. The Motion for Substitution shall identify the proposed substitute plaintiff by
name and shall describe why the proposed substitute plaintiff is a “proper” party and why the
claim has not been extinguished under the applicable state survivorship statute or applicable state
common law,

2. In the event that applicable state law requires the opening of an estate and the
appointment of a personal representative to pursue the claims of a deceased plaintiff, plaintiff's

counsel shall initiate or cause to be initiated proceedings to open an estate and/or obtain the

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appointment of a personal representative for plaintiff within thirty (30) days of the plaintiff's
death or thirty (30) days from entry of this Order, whichever is later.

a. If available at the time of filing, plaintiffs counsel shall attach a
copy of any Order appointing the person sought to be substituted as the personal representative of
the deceased plaintiff as an exhibit to the Motion to Substitute.

b. In the event that no personal representative has been appointed by
the deadline for filing a Motion for Substitution, plaintiff's counsel shall describe in the Motion
to Substitute the steps taken to obtain the appointment of a personal representative and state
whether there are any competing applications. Plaintiff's counsel also shall attach to the Motion
to Substitute all papers, pleadings, and petitions submitted in furtherance of that effort. If the
Court determines that the person sought to be substituted would be a proper party if appointed a
personal representative of the deceased plaintiff and that the provisions of this Section of the
Order and Fed. R. Civ. P. 25(a) have otherwise been complied with, the Court will provisionally
grant the Motion for Substitution on the condition that the substituted plaintiff submit to the
Court prior to remand of the plaintiffs claims a copy of the Order appointing him or her as the
deceased plaintiffs personal representative.

3. Plaintiff's failure to comply with the provisions of this Section, including the
requirement that an Order appointing the substitute plaintiff as the decedent’s personal
representative be filed prior to remand where the Court grants a provisional substitution, will
entitle defendant to a dismissal of plaintiff's action with prejudice in accord with Fed. R. Civ. P.

25(a).

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D. Opposition to Substitution. Nothing in this section shall preclude defendant
from challenging the authority or capacity of the proposed substitute plaintiff.

E. Rights of Substitute Plaintiff. By granting the motion for substitution, the Court
is not bestowing on the substitute plaintiff any rights or remedies not otherwise available under
applicable state law.

VI. PRE-TRIAL PROCEEDINGS.

A. Rule 26(a)(1) Disclosures. Defendant’s Fed. R. Civ. P. 26(a)(1) disclosures
made in Anderson, et al. v. Novartis Pharmaceuticals Corp., No. 3:05-CV-0718 (M.D. Tenn.),
Becker, et al. v. Novartis Pharmaceuticals Corp., No. 3:05-CV-0719 (M.D. Tenn.), and Wood, et
al. vy. Novartis Pharmaceuticals Corp., No. 3:05-CV-0716 (M.D. Tenn.) shall constitute
defendant’s initial disclosures in all cases transferred into MDL 1760. Defendant shall
supplement these disclosures as appropriate. Submission of a Plaintiff's Fact Sheet (“PFS”) as
described elsewhere in this Order that is complete in all respects shall satisfy that plaintiff's
initial disclosure obligations under Fed. R. Civ. P. 26(a)(1).

B. Meeting of Counsel and Parties to Discuss Settlement Prospects. At this stage of
the proceedings, the parties are in agreement that settlement is unlikely and also believe that ADR
would not be productive,

c. Status of the Issues Presented. The issues and facts in this case are in dispute at this
time.

D. Other Claims. At this time the parties are not aware of the need for any
counterclaims, cross-claims, third-party claims, joinder of the other parties or claims. Should the

parties become aware of the need for such pleadings, they will inform the other.

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E, Authentication. It is hereby ordered that copies of all documents maintained in
“hard” form produced by defendant are deemed to be a true and accurate copy of documents in the
possession and control of that defendant, unless otherwise indicated on the face of the copy produced
or disclaimed. It is further ordered that the “hard” copies of all documents maintained in electronic _
form produced by defendant are deemed to be a true and accurate representations of the data or other
information maintained in electronic format by that defendant, unless otherwise indicated on the face
of the “hard” copy produced or disclaimed. It is further ordered that all documents produced by
plaintiffs, any physician, psychiatrist, hospital, clinic, or any other health care provider that treated
any plaintiff and any documents obtained from insurance companies, employers, or state or federal
governments are deemed a true and accurate copy of hard copy documents, including x-rays or films,
if any, and “hard” copy documents or electronic documents produced by such persons or entities are
deemed a true and accurate representation of the data or other information maintained in electronic
format, unless otherwise indicated or disclaimed. The parties may request admissions of fact and/or
stipulations regarding the authenticity of documents pursuant to Fed. R. Civ. P. 36.

F. Appearance of Counsel.

1. Plaintiffs’ Liaison Counsel/Committee Structure. The Court designates

Charles Patrick Flynn to serve as Plaintiffs’ Liaison Counsel. A separate order designating the
duties of Liaison Counsel, providing the initial structure of committees of Plaintiffs’ counsel and
their duties shall also be tendered. Any party objecting to any portion thereof may object within

ten days after its filing.

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2, Defendant’s Lead Counsel in MDL 1760. Joe Hollingsworth and
Katharine Latimer, of the law firm of Spriggs & Hollingsworth, 1350 I Street, N.W.,
Washington, D.C., 20005, are hereby designated Lead Counsel for defendant.

3. Designated Counsel. In each specific action, plaintiffs will each
designate one attorney to act as Designated Counsel for purposes of receiving service. Each
plaintiff will file a Notice of Designation in each specific action naming their Designated
Counsel within fifteen (15) days of the entry of this Order or the docketing of the action in MDL
1760, whichever is later.

G. Counsel Communications. In addition to the local rule requirement of counsel
communication before submission of discovery disputes to the Court, counsel shall attempt to confer
in good faith to resolve all issues before submission of any matter to the Court. Further, discovery
disputes shall be informally brought to the attention of the Magistrate Judge by a telephone
conference on which all parties are represented before submission of any discovery dispute to the
Court by motion.

VIL WRITTEN DISCOVERY - GENERALLY.

A, Compliance with Rules. Except as expressly set forth herein, and absent an
agreement of the parties under Fed. R. Civ. P. 29 or an order of the Court to the contrary, all
discovery shall be conducted with and comply with the provisions of the Federal Rules of Civil
Procedure and the Local Rules of the United States District Court for the Middle District of

Tennessee.

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B. Confidentiality of Produced Materials or Deposition Testimony. The parties
will submit to the Court for approval a jointly-agreed upon Protective Order that will govern all
actions and counsel involved in this MDL.

Any inadvertent or unintentional production of any confidential or proprietary
material will not be construed as a waiver, in whole or in part, of (a) the producing party’s claims
of confidentiality either as to the specific information inadvertently or unintentionally disclosed
or more generally as to the subject matter of the information disclosed, or (b) the party’s right to
designate the material as confidential pursuant to the Protective Order. In the event that a party
inadvertently or unintentionally produces any confidential material without attaching one of the
legends described in the Protective Order, the party may subsequently designate the material as
Confidential at any time by forwarding to the opposing party copies of the material bearing one
of the legends required by the Protective Order and requesting that the opposing party destroy all
ptior copies of the Confidential Material. Upon receipt of such a request, the opposing party
shall destroy all copies of the Confidential Material produced inadvertently and replace them
with copies bearing the appropriate confidentiality legend.

C. Assertion of Privilege in Response to Production Requests. Any party that
withholds the production of requested documents or materials, regardless of the manner in which
they are kept or maintained, on the ground of any privilege or application of the work-product
doctrine must specify in writing, as to each document or thing not produced, the specific
privilege(s) or doctrine(s) it is relying upon to withhold each document (“Privilege Log”). Each
Privilege Log shall describe each document or thing to which a privilege or work product

doctrine is asserted in sufficient detail to reasonably permit the party seeking discovery to assess

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whether or not to dispute any such assertion of privilege or application of the work product
doctrine, unless such detail would destroy the privilege. A Privilege Log need not be produced
contemporaneously with the documents, but may be produced at reasonable rolling intervals
subsequent to production. Documents that were created or generated subsequent to the filing of
the constituent actions to this proceeding, or the filing of other actions asserting allegations
similar to those asserted in the constituent actions, and which concern or relate directly to the
defense of a specific lawsuit or lawsuits and are privileged as communications or work product
relating to the defense of those actions need not be placed on a Privilege Log.

The inadvertent production by any party in the course of discovery in these proceedings
of a document subject to a claim of privilege, work product, or other statutory or court-ordered
confidentiality, will not result in a waiver of any of the foregoing protections, whether in these or
any other proceedings, for the produced document or any other withheld document covering the
same or similar subject matter. If any party should inadvertently produce a document, upon
notice of such disclosure, all originals and copies thereof, as well as all notes or other work
product reflecting the contents of such materials, shall be immediately retummed to the producing
party, and such returned material shall be deleted from any litigation-support or other database.

D. Preservation of Documents.

1. While this Order remains in effect, each of the parties herein who receive
actual notice of this order by personal service or otherwise, are restrained and enjoined from
aliering, destroying, permitting the destruction of, or in any other fashion changing any document
or tangible item in the actual or constructive care, custody, or control of such person that is

reasonably within the scope of discovery in this case, wherever such document or tangible item is

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physically located. Except as otherwise provided below, this Order imposes no duty on any party
to notify any agents or third parties regarding this Order and parties have no responsibility for
actions taken by agents or third parties unless taken at the direction of a party.

2. Defendant’s obligation to preserve documents (including but not limited to
electronic data and e-mail) created subsequent to the effective date of this Order (“newly created
documents”) is limited to only those company employees who, during the regular course of their
employment, would be responsible for or directly oversee others responsible for any of the
following subjects and is limited to documents relating to any of the following subjects:

a. The regulatory status of Aredia® and Zometa®;

b. The risk or occurrence of osteonecrosis of the jaw in patients
treated with Aredia® or Zometa®;

c. The collection and/or reporting of adverse reactions occurring in
patients treated with Aredia® or Zometa®; and

d. The number and identity of individuals asserting claims against
defendant for injuries sustained while using Aredia® or Zometa®.

3. Each plaintiff must forward a copy of the letter attached to this Order as
Exhibit A to each of his or her treating physicians and any hospital or clinic that treated plaintiff,
thereby notifying those persons of the terms of this Order.

4, The duty to preserve newly created documents shall not extend to (a)
documents that are protected by the attorney client privilege or work product doctrine, including,
but not limited to, briefs, motions, legal or factual memoranda, notes, communications or other

similar materials created in anticipation of or during the course of any litigation concerning

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Aredia® or Zometa® by or for any attorney representing any party to the proceedings coordinated
in this Court, or in any other legal proceedings involving Aredia® or Zometa®; (b) documents
consisting of temporary compilation of information, such as dictation, drafts, and interim
versions of documents, if such temporary compilations of information would not have been
preserved in the ordinary course of business; and (c) multiple identical copies of a document,
including photocopies and electronically-stored data so long as the original document, or an
identical copy thereof, remain in the possession, custody or control of a party. The retention of
fuli back-up of any server or other computer on a monthly basis shall relieve the party of any
obligation to maintain any incremental or interim back-ups of such server or other computer.
Nothing in this Order shall require any party to implement any procedure relating to the backing-
up of electronic data that such party does not already have in place.

5. The preservation obligations of this Order are not intended to displace,
lessen, or heighten any parties’ preservation obligations pursuant to law.
VII. FACT DEPOSITIONS — GENERALLY.

A. Deposition Procedure. Unless otherwise agreed by all parties before a
deposition, depositions will proceed according to the Federal Rules of Civil Procedure and Local
Rules, except as specified below. Any agreement to deviate from the Federal Rules of Civil
Procedure, the Local Rules of this Court, or this Order must be recorded on the transcript at the
time the deposition commences.

B. Scheduling.

1. Plaintiffs may commence depositions of defendant’s current and former

employees no earlier than sixty (60) days from the date of this Order. Unless otherwise agreed

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by the parties, all notices of deposition seeking to depose defendant’s current or former
employees, including all notices propounded pursuant to Fed. R. Civ. P. 30(b)(6), must be served
at least 45 days prior to the noticed deposition date.

2. To allow for the collection of medical and other records, except as
otherwise provided herein, otherwise agreed to by the parties, or otherwise ordered by this Court,
other case-specific fact depositions noticed by either party, including but not limited to
depositions of plaintiffs, treating and consulting physicians, and family and friends of plaintiffs,
may commence no earlier than one hundred and fifty (150) days after the plaintiff serves a PFS
complete in all respects, as described below.

3. If there is a material risk that the plaintiff may become incapacitated — that
is to become physically or mentally incapable of providing complete and accurate testimony — or
perish at any time prior to the expiration of the 150 day period discussed above, plaintiff's
counsel may take a preservation deposition of the plaintiff after:

a. Providing reasonable notice to defendant of the intention to take
such a deposition;

b. Providing an affidavit or declaration from plaintiff's physician
setting forth the circumstances of the plaintiff's health and the reason that such a deposition is
necessary; and

c. Submitting to defendant at least fourteen (14) days before the
deposition is scheduled a PFS that is complete in all respects.

Defendant is entitled to take a discovery deposition of the plaintiff before the taking of a

preservation deposition. Should there be outstanding requests by defendant for medical records

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at the time that a preservation deposition taken under this paragraph is commenced, that fact will
be noted on the record by defendant’s counsel. In the event that the plaintiff is not incapacitated
at the time that defendant has obtained all requested medical records related to plaintiff,
defendant shall be entitled to take a second deposition of plaintiff or to take an initial deposition |
of plaintiff if defendant declined the opportunity to take a discovery deposition prior to plaintiff's
counsel taking a preservation deposition. Any time used by plaintiffs in conducting a deposition
pursuant to the terms of this section shall not reduce the defendant’s permitted time to conduct
that deposition as set forth in elsewhere in this Order. In all other respects, depositions
conducted by plaintiffs pursuant to this order shall comply with the applicable deposition
procedures and protocols established in this Order.

4, Counsel shall attempt in good faith to cooperate in the scheduling of
depositions permitted in this section considering the demands on the time and schedules of both
the parties and their respective counsel. Counsel shall meet and confer as soon as practicable to
resolve any scheduling disputes).

Cc, Length of Direct Examination in Fact Depositions. Except as otherwise stated
in this paragraph, the examination by the party noticing the deposition shall be no more than
seven (7) hours of actual examination time absent agreement or further order of this Court upon a
showing of good cause. The Court expects that if a deposition requires additional time, the
parties will make a good faith effort to agree on an extension before coming to the Court for
resolution. A deposition of a treating physician may be taken more than once if that physician
has treated more than one plaintiff. In such circumstances, the noticing party will be entitled to

seven (7) hours of deposition questioning of the witness for each plaintiff the witness treated.

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D. Production of Documents by Deposition Witnesses. Witnesses subpoenaed or
noticed to testify and to produce documents shall be noticed and served with the subpoena or
deposition notice and document request at least forty-five (45) days before the scheduled
deposition. Depending upon the quantity of documents to be produced by deponent, some time
may be needed for inspection of the documents before the interrogation commences. Time spent
examining documents produced by the deponent at a deposition is not considered examination
time. Responsive documents that are identical to those already produced in discovery to the
plaintiffs or to the defendant do not have to be produced by the deponent.

E. Location of Depositions. Unless otherwise agreed by the parties, depositions
shall be taken in the federal district where the deponent resides or maintains his or her place of
business.

F. Conduct of Depositions.

1. Cooperation. Counsel are expected to cooperate with, and be courteous
to, each other and deponents during the course of any deposition. Counsel shall recess from time
to time during the deposition for meals and to permit periods of rest or refreshment reasonably
required by the deponent, stenographer(s) and/or counsel conducting or defending the deposition.

2. Deposition Day. Absent agreement of the parties to the deposition, a
deposition day shall be no longer than seven (7) hours of actual examination time.

3. Continuance of Deposition. Depositions will not be noticed from day to
day, but will be noticed for a single, specific day. Should a deposition not be completed on the
scheduled day, the deposition will continue on a date agreed upon by the parties. If there is no

agreement on when the deposition will be continued, a notice of continued deposition may be

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served providing at least ten (10) days notice of the date upon which the deposition will be
continued.

4. Examination. The party noticing a fact deposition shall designate one
attorney to conduct the examination of the deponent.

5. Disputes During Depositions. Disputes between the parties arising
during a deposition should be addressed to this Court rather than to the district court in which the
deposition is being conducted.

6. Copies of Exhibits. A copy of any document about which examining
counsel expects to question the deponent should ordinarily be provided to primary counsel for
the parties and for the deponent at the time presented to the deponent and his/her counsel.

G. Stenographic Recording. A certified court reporter shall stenographically record
all deposition proceedings and testimony. The court reporter shall administer the oath or
affirmation to the deponent. A written transcript by the court reporter, together with copies of all
exhibits marked or referred to during the deposition, shall constitute the official record of the
deposition for purposes of Fed. R. Civ. P. 30(e) (submission to the witness) and Fed. R. Civ. P.
30(f) (filing, exhibits). The transcript shall also contain the name of any attorney and any other
person attending the deposition together with the name of his or her firm or organization,
business address and, if applicable, the name of the person or organization he or she represents.

H. Videotaped Depositions. Any deposition may be videotaped at the request of
any party, provided that the deposition notice or subpoena contains or is accompanied by a notice

that the deposition will be videotaped, under the following terms and conditions:

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1, All videotaped depositions shall be simuitaneously stenographically
recorded in accordance with this Order.

2. The party requesting videotaping of the deposition shall bear the expense
of both the videotaping and the stenographic recording. Requests for the taxation of these costs
and expenses may be made at the conclusion of the litigation in accordance with applicable law.

3. The operator(s) of the videotape recording equipment shall be subject to
the provisions of Fed. R. Civ. P. 28(c). At the commencement of the deposition, the operator(s)
shall swear or affirm to record the proceedings fairly and accurately.

4. At the commencement of the deposition, each witness, attorney and any
other person attending the deposition shall identify themselves on camera.

5. No attorney or party shall direct instructions to the video operator(s) as to
the method of operating the equipment. The video camera operation will be suspended during
the deposition only upon stipulation by counsel for “off the record” discussions and for the
videographer to change the tape if needed. The video operator(s) shall record on camera the time
of suspension and any subsequent reconvening of the deposition.

6. The deposition will be conducted in a manner to replicate, to the extent
feasible, the presentation of evidence at trial. Unless physically incapacitated, the deponent shall
be seated at a table except when reviewing or presenting demonstrative materials for which a
change in position is needed. To the extent practicable, the deposition will be conducted in a
neutral setting, against a solid background, with only such lighting as is required for accurate
video recording. Lighting, camera angle, lens setting, and field of view will be changed only as

necessary to record accurately the natural body movements of the deponent or to portray exhibits

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and materials used during the deposition. Sound levels will be altered only as necessary to
record satisfactorily the voices of counsel and the deponent.

7. If the party noticing the deposition does not intend to convert the
videotape to digital form, the videographer shall use a counter on the recording equipment and
after completion of the deposition shail prepare a log, cross-referenced to counter numbers, that
identifies the depositions on the tape at which examination by different counsel begins and ends,
at which objections are made and examination resumes, at which exhibits are identified, and at
which any interruption of continuous tape-recording occurs, whether for recesses, “off-the-
record” discussions, mechanical failure, tape changes, or otherwise.

8. After the deposition is completed, the video operator(s) shall certify on
camera the correctness, completeness, and accuracy of the videotape recording in the same
manner as a stenographic court reporter, and file a true copy of the video tape, the transcript, and
certificate with counsel for whomever noticed the deposition.

9, Technical data, such as recording speeds and other information needed to
replay or copy the tape, shall be included on copies of the videotaped deposition.

L Copies of Transcripts and Videotapes. Subject to any restrictions contained
within the protective order entered in this litigation, any party may at its own expense obtain a
copy of the videotape and the stenographic transcript by contacting counsel that noticed the
deposition or the court reporter.

J. Correction and Signing of Depositions. Unless waived by the deponent, the
transcript of a deposition, or any portion thereof, shall be submitted to the deponent for reading,

correction, and signature within thirty (30) days after the completion of the deposition or any
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portion thereof. A deposition transcript, or a transcript of a portion thereof, may be signed by the
deponent before any notary within thirty (30) days after the transcript, or any portion thereof, is
submitted to the deponent. If no corrections are made during this time, the transcript will be
presumed accurate.
IX. DISCOVERY FROM DEFENDANT.

A. Production of Documents.

1. Prior Production and Responses to Requests to Produce. Requests for
production have been propounded on and answered by defendant in several cases. Within fifteen
(15) days of the entry of this Order, defendant will supplement its prior answers to requests for
production in Anderson, et al. v. Novartis Pharmaceuticals Corp., No. 3:05-CV-0718 (M.D.
Tenn.), Becker, et al. v. Novartis Pharmaceuticals Corp., No. 3:05-CV-0719 (M.D. Tenn.), and
Wood, et al. v. Novartis Pharmaceuticals Corp., No. 3:05-CV-0716 (M.D. Tenn.) and provide
the same to any plaintiff who requests copies. Defendant’s answers to requests for production in
these referenced cases shall be applicable to any case docketed in this MDL. All objections
raised previously by defendant in response to requests for production are preserved, and all rights
held by plaintiff(s) to contest any objections made are similarly preserved. In addition, defendant
may assert additional objections, if any, in response to the previously served requests for
production within fifteen (15) days of the entry of this Order.

2. Additional Requests to Defendant For Production of Documents. As
described below, defendant is producing millions of pages of documents in response to the
requests for production made in Anderson, et al. v. Novartis Pharmaceuticals Corp., No. 3:05-

CV-0718 (M.D. Tenn.), Becker, et al. vy. Novartis Pharmaceuticals Corp., No. 3:05-CV-0719
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(M.D. Tenn.)}, and Wood, et al. v. Novartis Pharmaceuticals Corp., No. 3:05-CV-0716 (M.D.
Tenn.). In the absence of an agreement of the parties, no further document requests may be
propounded to defendant without leave of Court.

3. Protocol of Document Production.’* The following protocol! shall apply
to the production of documents existing in hard-copy form and, as limited below, documents
existing in native electronic form by defendant:

a. General. Except as limited below, all documents that originally
existed in either hard-copy or native electronic form that are not privileged or otherwise protected
from production and are responsive to discovery requests or Court order (or are otherwise
produced in these proceedings) shall be produced in electronic image form in the manner
provided herein. Each document’s electronic image shall convey the same information and
image as the original document. Documents that present imaging or formatting problems shall
be promptly identified; the parties shall meet and confer to attempt to resolve the problems.

b. Document Image Format. All hard-copy documents shall be
scanned as black and white images at 300 d.p.i. resolution and shall be saved and produced in a
Group 4 compression single-page “TIFF” format. All native electronic documents shall be saved
electronically (or “printed”’) in a Group 4 compression single-page “TIFF” image that reflects
how the source document would have appeared if printed out to a printer attached to a computer

viewing the file. Defendant shall produce a “load file” to accompany the images, which load file

 

* Defendant has provided this proposed document production protocol to plaintiffs’ counsel. Plaintiffs’ counsel
agreed with the protocol pending clarification regarding the definition of a technical term. Defendant is in the
process of obtaining that information and will provide it as soon as possible. Defendant is confident the parties will
be able to reach agreement on this issue.

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shall facilitate the use of the produced images by a document management or litigation support
system. The parties shall meet and confer to the extent reasonably necessary to facilitate the
import and use of the produced materials with commercially available document management or
litigation support software.

c. Document Unitization. Each page of a document shall be
scanned into an image and if a document is more than one page, the unitization of the document
shall be maintained.

d. “Bates Numbering.” Each page of a produced document shall
have a legible, unique page identifier (“Bates Number”) electronically “burned” onto the image at
a location that does not obliterate, conceal, or interfere with any information from the source
document except where such information has been redacted in accordance with applicable law or
a Court order. Each document shall also have a “confidential” legend electronically “bummed”
onto the image at the bottom of each page in such a way so as not to obliterate, conceal or
interfere with any information from the source document. In addition, each page shall bear a
“MDL” watermark across the face of the document in a way so as not to obliterate, conceal, or
interfere with any information from the source document. At the time of trial, defendant will
provide “clean” copies of all documents that plaintiffs intend to use at trial as indicated by the
exhibit list the parties shall exchange pursuant to the final pre-trial order or other Court order.

€. File Naming Conventions. Each document image file shall be
named with the unique Bates Number of the page of the document in the case of single-page

TIFFs, followed by the extension “. TIF”.

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f. Production Media. Defendant shall produce documents on CD-
ROM, DVD, external hard drive (with standard PC compatible interface), or such other readily
accessible computer or electronic media as the parties may hereafter agree upon (the “Production
Media”). Each piece of Production Media shall identify its general contents, e.g., “Zometa” New
Drug Application,” “Aredia” New Drug Application,” “John F. Smith’s Documents,” etc., as
well as the volume of the material in that production.

g. Production of Hard-Copy Documents from Defendant’s
Employees and Archive Documents. Hard-copy documents located by defendant during
review of defendant’s archives and business premises will be produced in the manner described
in patagraph 2, above, for hard-copy documents, Defendant has elected to have these documents
objectively coded. Accordingly, upon the production of documents within this category (or upon
creation of the objective coding), defendant will produce an ASCI text file, appropriately
delimited, setting forth the objective coding for each document (the “Objective Coding”). The
Objective Coding shall contain the following information: Author, Recipient, Date, Subject
Line/Title (if applicable), Document Type, and Copyees. If plaintiffs have problems importing
and using the Objective Coding for document management, plaintiffs and defendant shail meet
and confer to attempt to resolve the problems, Defendant’s production of Objective Coding shall
not constitute any certification as to the reliability, accuracy or completeness of the coding, and
shall not constitute any waiver of work product protection or the attorney-client privilege with
respect to that coding.

h. Production of New Drug Application Files. Documents

encompassed within the New Drug Application (“NDA”) files for Aredia® and Zometa® will be
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produced in the manner described above, for hard-copy documents because that is the manner in
which they are primarily maintained by defendant. The NDA documents have not been
objectively coded. The NDAs contain a number of indices of particular sections. Defendant will
produce the NDAs in the same order they were presented to the FDA, with all of the indices
contained therein intact. Without waiving any work-product protection, defendant will provide a
list of the Bates Number ranges that contain the volume indices it has located within the NDA
files. Without waiving any work-product protection, defendant will also provide plaintiffs with
a separate list that indicates the Bates Number range for and identifies the text appearing on the
cover of each volume of the NDAs.

i. Electronic Source Documents: Electronic Text Files. Electronic
documents maintained on network home directories and electronic mail, which exist natively in
electronic format, will be produced in the manner described in paragraph 2, above, for native
electronic documents. Defendant will also produce text files reflecting the full text that has been
electronically extracted from the original, native electronic files (“Extracted Text”). The
Extracted Text shall be provided in ASCII text format and shall be labeled and produced on
Production Media. The text data will be provided in delimited ASCII format with the production
bates number information. Defendant shall not be obligated to produce Extracted Text for
documents that have been redacted in accordance with applicable law or Court order. For those
documents, defendant will produce an ASCH file containing text obtained through the use of
commercially-available optical character recognition (“OCR”) software after redactions have

been made. Should extracted text from an electronic source document contain privileged or

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otherwise protected information, such production shall not be deemed a waiver of any privilege
that might attach to the extracted text or the related document.

j. Original Documents. Defendant shall retain the original hard
copy and native electronic source documents for all documents produced in this MDL
ptoceeding. Subject to preservation of appropriate privileges and other protections of
defendant’s information from production in accordance with applicable law, defendant shall,
upon reasonable request, make originals of any produced document available for inspection by
the requesting party in the form in which such documents are kept in the ordinary course of
business.

k. Production of Other Electronic Documents. This Protocol shall
not apply to native electronic files (1) where access to the native electronic file or data contained
within such file is material to the analysis, use, or understanding of the information or data within
such file, or (2) that otherwise present imaging or pagination problems, including statistical
analysis files and database files (such as mainframe-, DB2-, Access-, or Oracle-based files).
Plaintiffs and defendant shall meet and confer to agree on the form for the production of these
other electronic materials.

1. Discovery and Admissibility. Nothing in this Protocol shall be
construed to affect the discoverability or admissibility of any document or data. Ail objections to
the discoverability or admissibility of any document or data are preserved and may be asserted at
any time.

B. Interrogatories to Defendant.

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s
1, Prior Answers to Interrogatories. Interrogatories have been propounded
to and answered by defendant in several cases. Within fifteen (15) days of the entry of this
Order, defendant will provide answers to interrogatories in Anderson, et al. v. Novartis
Pharmaceuticals Corp., No. 3:05-CV-0718 (M.D. Tenn.), Becker, et al. v. Novartis
Pharmaceuticals Corp., No. 3:05-CV-0719 (M.D. Tem), and Wood, et al. v. Novartis
Pharmaceuticals Corp., No. 3:05-CV-0716 (M.D. Tenn.) to any plaintiff who requests copies.
Defendant’s answers to interrogatories in these referenced cases shall be applicable to any case
docketed in this MDL. All objections raised previously by defendant in response to
interrogatories are preserved, and all rights held by plaintiff{s) to contest any objections made are
similarly preserved. In addition, defendant may assert additional objections, if any, in response
to the previously served interrogatories within fifteen (15) days of the entry of this Order.

2. Additional Interrogatories. In the absence of an agreement of the parties,
no further interrogatories may be propounded to defendant without leave of Court.

Cc Depositions of Defendant.

1. Current Employees. Plaintiffs shall in good faith take only those
depositions of defendant and its current employees deemed reasonably necessary under the
circumstances of this case. Defendant shall make available, without requiring a subpoena, all
current employees requested by plaintiffs for deposition, subject to the limits set on the number
of depositions set forth within this Order and to defendant’s right to object to the taking of any
particular employee’s deposition for good cause shown.

2. Former Employees. Defendant shall take reasonable steps to make

available requested former employees, to the extent possible. If defendant is unable, despite its

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best good faith efforts, to produce former employees, then defendant shall provide upon request
the former employee’s last known address and shall cooperate in any effort to obtain this Court’s,
or another court’s, assistance to compel the former employee’s attendance at the deposition.
Plaintiffs shall not contact former employees of defendant.

3. Number of Depositions. Plaintiffs shall be limited to ten (10) depositions
of defendant’s current employees and former employees, including depositions noticed pursuant
to Fed. R. Civ. P. 30(b)(6). Absent agreement by the defendant, plaintiffs may apply to the Court
to conduct further depositions or a subsequent deposition of an individual previously deposed
only upon a showing of good cause and the specific identification of the individual(s) sought to
be deposed.

X. DISCOVERY FROM PLAINTIFFS.

A. Plaintiff’s Fact Sheet. Each plaintiff in each case filed in or transferred to the
Court shall complete a separate PFS. Plaintiffs in all cases currently docketed in this Court as of
the date of entry of this Order shall complete a PFS in all respects and serve the same upon
Defendant’s Lead Counsel in the applicable case as specified elsewhere this Order. Plaintiffs in
all cases in which this Court receives the case file or cases filed in this Court but made part of -
MDL 1760 after the date of entry of this Order shall be served with a copy of the PFS by
Plaintiffs’ Liaison Counsel as described below and shall complete a PFS in all respects and serve
the same upon Defendant’s Lead Counsel and counsel of record in the applicable case.

B. Plaintiffs to Complete PFS in All Respects. Plaintiffs) in each case filed in or
transferred to the Court shall complete a PFS in all respects, including providing defendant with

all applicable accompanying authorizations, within forty-five (45) days of service. To “complete

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a PFS in all respects” means to answer every question on the PFS and leave no blanks, even if'a
plaintiff can only answer the question in good faith by indicating “not applicable” or “I don’t
know.” This definition of “complete in all respects” shall be applicable throughout this Order.

C. _ Plaintiff’s Failure to Serve PFS. Should any plaintiff fail to serve a PFS within
the time allotted, Defendant’s Lead Counsel shall send a warning letter to that plaintiff's
Designated Counsel in the specific case involved, with a copy to the Plaintiffs’ Liaison Counsel.
Plaintiff shall have an additional fifteen (15) days to serve a PFS completed in all respects. The
letter shall include a warning that the case is subject to dismissal under this Order if a PFS
completed in all respects is not received within fifteen (15) days of the service of the warning.
Should a plaintiff fail to provide a PFS completed in all respects (including signatures on all
applicable authorizations) within fifteen (15) days of service of the warning letter, defendant is
entitled to seek an Order to Show Cause why the case should not be dismissed. Any such filing
shall be served on Plaintiff's Designated Counsel and Plaintiffs’ Liaison Counsel, with any
response to such filing to be submitted within ten (10) days following the date of service.

D. Plaintiff's Failure to Complete PFS in All Respects. If defendant receives a
PFS in the allotted time, but the PFS is not completed in all respects, Defendant’s Lead Counsel
shall send a deficiency letter to that Plaintiff's Designated Counsel allowing plaintiff an
additional fifteen (15) days to serve a PFS that is complete in all respects. The deficiency letter
shall include a warning that the case is subject to dismissal under this Order if a PFS complete in
all respects is not received within fifteen (15) days of service of the warning. Should a plaintiff
fail to cure the deficiencies identified and fail to provide responses that are complete in all

respects (including signatures on all applicable authorizations) within fifteen (15) days of service

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of the deficiency letter, defendant is entitled to seek an Order to Show Cause why the case should
not be dismissed. Any such filing shall be served on Plaintiff’s Designated Counsel and
Plaintiffs’ Liaison Counsel, with any response to such filing to be submitted within ten (10) days
following the date of service.

E. Requests for Production to Plaintiffs. At any time after a plaintiff serves a PFS
on Defendant’s Lead Counsel, defendant may propound and serve on that plaintiff five (5)
Requests for Production in accord with Fed. R. Civ. P. 34. Plaintiff will respond in accord with
Fed. R. Civ. P. 34.

F, Interrogatories to Plaintiffs. At any time after a plaintiff serves a PFS on
Defendant’s Lead Counsel, defendant may propound and serve on that plaintiff five (5)
Interrogatories in accord with Fed. R. Civ. P. 33. Plaintiff will respond in accord with Fed. R.
Civ. P. 33.

G. Physical and Mental Examinations of Plaintiffs. Defendant shall be entitled to
conduct physical and/or mental examinations of plaintiffs, in accord with Fed. R. Civ. P. 35, any
time after the plaintiff serves on defendant a PFS. Such examinations need not be taken before
the close of case-specific fact discovery in MDL 1760, but also may be taken after remand during
the period provided for expert discovery. All examinations must be completed at a point
sufficiently in advance of the close of expert discovery to allow plaintiff to conduct the discovery
described in Fed. R. Civ. P. 35(b)(1) prior to the close of any period established for expert
discovery.

H. Depositions of Plaintiff. The defendant shall be entitled to take the deposition of

each plaintiff.
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XI. DISCOVERY FROM THIRD PARTIES.

A. Document Subpoenas to Non-Parties. Upon entry of this Order, any party may
serve subpoenas on non-parties for the production of documents without testimony pursuant to
Fed. R. Civ. P. 45.

B. Depositions of Non-Parties. Defendant shall be entitled to conduct a total of
fifteen (15) depositions of non-parties per plaintiff and each plaintiff shall be entitled to conduct
a total of fifteen (15) depositions of non-parties as part of case-specific fact discovery in each
case transferred to this Court or otherwise made a part of MDL 1760. For purposes of this Order,
treating physicians are considered “fact” witnesses. Absent agreement by the opposing party, the
party seeking to notice additional depositions may apply to the Court to conduct further
depositions only upon a showing of good cause and the specific identification of the
individuals(s) sought to be deposed.

Cc, Ex Parte Communications. The Court finds that ex parte communications with
plaintiffs’ treating physicians will expedite the discovery process and reduce expenses in this
litigation. Therefore, counsel for defendant may informally meet with the treating physicians of
plaintiffs without providing notice to plaintiffs’ counsel and outside the presence of plaintiffs’
counsel.

XII. COMPLETION OF FACT DISCOVERY.

Except as agreed to by the parties or where the Court has entered an order providing
otherwise, case-specific fact discovery in each specific action shall be completed no later than
twelve (12) months after the date upon which all plaintiffs to the specific action provide a PFS

complete in all respects to defendant. Absent mutual consent of the parties thereto or further

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order of the Court, no case shall be subject to remand to its transferor court prior to the deadline
for the completion of fact discovery applicable in that case.
XHI. EXPERT DISCOVERY.

Experts will be disclosed and expert discovery will be conducted on class certification
issues pursuant to a Court ordered discovery and briefing schedule. Whether there will be a need
for any additional expert opinion and discovery on general issues in this MDL will be determined
after the class certification question is resolved. All case-specific expert discovery and related
disclosures will be deferred until after the cases are remanded to the transferor courts. Expert
depositions taken in this MDL shall be limited to five (5) non-consecutive days of eight hours of
deposition testimony for each expert designated.

XIV. REMAND.

Upon the expiration of the deadline for the completion of fact discovery in a specific
case, the Court will consider whether issuance of a suggestion of remand to the transferor court is
appropriate. In determining whether to issue a suggestion of remand, the Court will consider
whether case-specific fact discovery has been fully completed in accordance with this Order. If
any plaintiff has not completely complied with the discovery requirements set forth in this or
subsequent Orders of this Court, including the completion of a PFS, his or her case shall not be
considered for remand until the Court has determined that the discovery obligations of the
plaintiff have been completed and defendant has had sufficient time to complete case-specific
fact discovery. Remand to the transferor court pursuant to 28 U.S.C. §1407 in no way reflects a

waiver of defendant's right to contend that a court other than the transferor court is the

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appropriate forum in which to try the case and also in no way reflects any conclusion by this
Court that the transferor forum is the appropriate forum for trial in any particular case.
XV. REMAND PROCEDURE.

A. Petition for Suggestion of Remand Order. At any time after a case is ripe for
remand, counsel of record for any party to the case may file a Petition for Suggestion of Remand
Order (“Petition”). A separate Petition must be filed in each case for which remand is sought.
Counsel of record shall not file a Petition unless they can certify in good faith that the case(s) for
which remand is sought is have completed all the requirements set forth in this or subsequent
orders and the period established elsewhere in this Order has expired.

B. Objections and Responses. A party to a case may file a written objection to a
Petition within twenty (20) days of the date of filing. Any party may object to a Petition. The
written objection shall identify all reasons why the case is not ripe for remand. Within five (5)
days of filing of an opposition, the petitioning party may file a response that shall be limited to
five (5) pages.

Cc, Eligibility for Remand. Any case in which a Petition has been filed will be
deemed eligible for remand if (a) no written objection is filed within twenty (20) days of the
filing of the Petition, or (b) upon the Court overruling any written objection to the Petition. A
party whose case has been deemed not eligible for remand as a result of a successful objection to
a Petition may file a subsequent Petition after curing the grounds on which the objection was
sustained. The Court will regularly issue Suggestion of Remand Orders, to be forwarded to the

JPML, listing all cases that are eligible for remand at that time.

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D. Final MDL Pretrial Order. Within seven (7) days of the issuance of a
Suggestion of Remand Order by this Court, the parties will submit a joint proposed Final MDL
Pretrial Order for the Court’s signature. Such order will describe the events that have taken place
in MDL 1760 and those items that require further action by the transferor court. A copy of the
Final MDL Pretrial Order, along with the case file and materials, will be provided to the
transferor court. That order will set forth the parties’ positions regarding the schedule for
completion of expert discovery after remand, the schedule for the filing of dispositive motions
and motions to exclude expert testimony under Daubert, and each party’s estimate regarding the
anticipated length of trial. The Court will enter the Final MDL Pretrial Order upon issuance of a
Conditional Remand Order by the JMPL.

XVI. SCHEDULE OF PRETRIAL PROCEEDINGS.

The parties were unable to reach agreement on proposed schedules and are therefore
submitting competing proposals. Both proposals are included.

A. Plaintiffs’ Proposed Schedule. The following schedule shall govern proceedings
in this cause:

1. On or before February 2, 2007, the Plaintiffs shall serve the Defendant with
affidavits (by lay or expert witnesses) and expert reports upon which Plaintiffs are relying with
respect to class certification (including without limitation an expert report or expert affidavit by
each person the Plaintiff may call to testify as an expert witness at the hearing on class
certification).

2. On or before March 2, 2007, the Defendant shall serve the Plaintiffs with

affidavits (by lay or expert witnesses) and expert reports upon which the Defendant is relying
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with respect to class certification (including without limitation an expert report or expert affidavit
by each person the Defendant may call to testify as an expert witness at the hearing on class
certification).

3. On or before April 20, 2007, Plaintiffs shall give notice in writing, including a
definition of the proposed class, of their desire to be granted class certification.

4. On or before May 21, 2007, the Defendant shall file its memorandum in
opposition to class certification.

5. On or before June 15, 2007, Plaintiffs shall file their memorandum in support of
class certification under Fed. Rule Civ. Proc. 23(b)(2) and/or 23{b)(3). |

6. On or before June 30, 2007, Defendant shall file its reply memorandum in further
opposition to class certification.

7. If the Court requests the parties to submit proposed findings of fact and
conclusions law on class certification, these shall be due as the court may require.

8. On or before April 3, 2007, the parties shall file motions to name additional
parties or otherwise amend their pleadings.

9. On or before April 27, 2007, the Plaintiffs shall provide the Defendant with
Plaintiffs’ Rule 26(a\(2) disclosures and serve Defendant with reports or affidavits of testifying
experts on issues common to all of plaintiffs’ cases and all issues in the case(s) set for trial in the
Middle District of Tennessee pursuant to this Order.

10. On or before May 28, 2007, the Defendant shall provide the Plaintiffs with its
Rule 26{a)(2) disclosures and serve the Plaintiff with reports of affidavits of testifying experts on

issues common to all of Plaintiffs’ cases and all issues in the case(s) set for trial in the Middle

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District of Tennessee pursuant to this Order.

11. Onor before June 1, 2007, all fact-based discovery in cases in which the siay on
discovery has been lifted shall be completed.

12. Qnor before June 11, 2007, the Plaintiffs may supplement the Plaintiffs’ expert
reports or affidavits. Except for good cause shown, further supplementation shall be permitted
thereafter. Opportunity for supplementation as it relates to expert reports or affidavits is not
intended to excuse the Plaintiffs from fully complying with the initial expert disclosure
obligation, but instead is intended to provide for disclosure of expert work that is truly in the
nature of rebuttal of the Defendant’s expert(s).

13. All discovery motions, except as may subsequently arise with respect to experts,
in case(s) set for trial in the Middle District of Tennessee pursuant to this Order shall be filed on
or before June 18, 2007.

14, Onor before June 22, 2007, the Defendant may supplement it expert reports or
expert affidavits. Except for good cause shown, no further supplementation shall be permitted.
The opportunity for supplementation, as it relates to expert reports or affidavits, is not intended
to excuse the Defendants from fully complying with the initial expert disclosure obligation, but
instead is intended to provide for disclosure of expert work that is truly in the nature of sur-
rebuttal of the Plaintiff's experts(s).

15.  OQOnor before August 31, 2007, discovery of experts common to all cases and all
experts in case(s) set for trial in the Middle District of Tennessee pursuant to this Order shall be
completed and any discovery motions pertaining to experts shall be filed.

16. On or before September 30, 2007, in case{s) set for trial in the Middle District of

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Tennessee pursuant to this Order the parties shall file all motions for summary judgment, other
potentially dispositive motions (including FRCP 12 motions), motions relating to the
admissibility of expert testimony, and motions for Daubert hearings.

17. Onor before November 5, 2007, in case(s) set for trial in the Middle District of
Tennessee pursuant to this Order, the parties shall file motions in limine and any motions
objecting to expert testimony. Any response to such motion shall be filed by November 12,
2007.

18. Counsel shall submit a joint proposed pre-trial order to the Court by November
12, 2007, in case(s) set for trial in the Middle District of Tennessee pursuant to this Order. The
pre-trial order shall contain: (1) a recitation that the pleadings are amended to conform to the pre-
trial order and that the pre-trial order supplants the pleadings; (2) a statement of the basis for
jurisdiction of this Court; (3) a short summary of Plaintiffs’ theory (no more than one page); (4) a
short summary of Defendant’s theory (no more than one page); (5) a statement of the issues,
including designation of which issues are for the jury and which are for the Court; (6) a statement
of the relief sought; (7) a summary of any anticipated evidentiary disputes; and (8) and estimate
of the anticipated length of trial.

19, Also, by November 12, 2007, in case(s) set for trial in the Middle District of
Tennessee pursuant to this Order, the parties shall submit to the Court:

(a) A joint proposed jury instruction and verdict forms as follows:
Counsel shall exchange proposed jury instructions on substantive law of this
specific case and proposed verdict forms and confer to reach agreement. Thereafter,

counsel shall jointly prepare and file a set of agreed, proposed, case-specific jury

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instructions and verdict forms. Each proposed jury instruction shall begin with a new

page and shall include the citations to supporting authorities. Counsel shall separately

file any disputed jury instructions or verdict forms.

Certain standard non-case specific jury instructions generally used by the Court
are available on the Court’s website: http//www.tnmd.uscourts.gov/campbell.html.
Counsel with internet access shall file any objections to these standard jury instructions.

If possible the parties shall submit a word perfect compatible computer disc of the
agreed proposed jury instructions and verdict forms with hard copy;

(b) witness lists, except for witnesses solely for impeachment in accordance with

FRCP 26(a)(3);

(c) exhibit lists, except for documents solely for impeachment in accordance with

FRCP 26(a)(3)}; and

(d} any stipulations.

20. Counsel for the parties in case(s) set for trial in the Middle District of Tennessee
pursuant to this Order shall appear for a pre-trial conference in this Court on November 19, 2007
at 9:00 a.m. All lawyers who will participate in the trial must attend the pre-trial conference.

21, One or more cases subsequently to be determined shall be set for trial on
November 27, 2007. It is anticipated that the trial of this cause will take three (3) weeks.

B. Defendant’s Proposed Schedule for the Putative Class Actions Originally
Filed in the Middle District of Tennessee. Plaintiffs’ proposal is similar to the schedule in
place in Wood v. Novartis Pharmaceuticals Corp., No. 3:05-CV-0716 (M.D. Tenn.) prior to the

creation of the MDL. Presently, both plaintiffs and the Court have expressed skepticism about
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the viability of the putative personal injury classes pled in the three original Middle District of
Tennessee cases. Plaintiffs have indicated that they may replead and request a dental monitoring
class. However, in their proposal, plaintiffs do not provide any information about the type or
scope of the class they plan to assert. Defendant and the Court have no information regarding
who or how many purported representatives that class may have and therefore defendant
contends that establishing a class certification briefing and discovery schedule would be both
impractical and a violation of its various due process and other rights. Defendant initially
proposes that if/when plaintiffs finalize their request for certification of a dental monitoring or
other class and file a sufficient class action complaint, the parties will meet and confer regarding
an appropriate schedule for class discovery and briefing. However, should this Court decide to
establish a class certification discovery and briefing schedule now, defendant’s proposed
schedule for both the three original Middle District of Tennessee cases and all other MDL cases
follows.

This schedule maintains the time periods originally contained in Judge Campbell’s pre-
MDL case management order EXCEPT it adds 90 days for the submission and completion of the
PFS and six months to compensate for discovery time under the initial schedule lost to defendant
beginning at the time the request for an MDL was filed, from which point plaintiffs declined to
provide defendant with valid authorizations allowing collection of medical records for some
plaintiffs or deposition dates for other plaintiffs.

Cc, Discovery of the Three Putative Class Actions Originally Filed in the Middle
District of Tennessee. Discovery in Case Nos. 3:05-CV-00716, 3:05-CV-00718; and 3:05-CV-

00719 will be conducted in two phases. The first phase will address class certification and will
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be completed on December 7, 2007. The second phase will address the merits of the actions.
Discovery of all other cases transferred to this Court for inclusion in MDL 1760 shall be
conducted as set forth below.

dD. Class Certification Phase (Case Nos. 3:05-CV-00716; 3:05-CV-007138; and
3:05-CV-00719).

1. In the initial phase, discovery shall be addressed to matters bearing on
class certification. The parties are directed to work together in a good faith effort to resolve any
disputes that may arise between them on the issue of whether discovery is class or merits related
before seeking Court intervention.

2. For good cause shown, the sixty (60) day requirement of Local Rule
23.01(b) is waived. Plaintiffs shall file their Motion for and Memorandum in Support of Class
Certification in accordance with the schedule set forth below.

3. Discovery shall commence with the transmission by Plaintiffs’ Liaison
Counsel or his designee on or before August 14, 2006 of a blank PFS to each plaintiff whose
claims were originally included in the three actions filed in this District (Case Nos. 3:05-CV-
00716; 3:05-CV-00718; and 3:05-CV-00719), Plaintiffs’ Liaison Counsel shall certify
transmission of the PFS to each plaintiff to Defendant’s Lead Counsel. These plaintiffs shall
constitute “Wave One Plaintiffs” for purposes of discovery of plaintiffs.

4, Sixty days after the date of this Order, all MDL plaintiffs may commence
discovery of defendant as set forth elsewhere in this Order. Discovery of defendant will not be in

waves and must be coordinated among all plaintiffs as set forth elsewhere in this Order.

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5. On or before September 28, 2006 (45 days after service), each plaintiff
shall serve a PFS, complete in ali respects (as defined elsewhere in this Order), upon Defendant’s
Lead Counsel.

6. On October 2, 2006, defendant may commence depositions of the Wave
One Plaintiffs, including but not limited to depositions of plaintiffs, treating and consulting
physicians, and family and friends of plaintiffs.

7. On or before August 3, 2007, plaintiffs shall serve defendant with all
affidavits (by lay or expert witnesses) and expert reports upon which plaintiffs are relying with
respect to class certification (including without limitation an expert report or expert affidavit by
each person plaintiffs may call to testify as an expert witness at the hearing on class certification).

8. All fact discovery related to class certification shall be completed by
August 31, 2007.

9. On or before September 7, 2007, defendant shall serve plaintiffs with all
affidavits (by lay or expert witnesses) and expert reports upon which defendant is relying with
respect to class certification (including without limitation an expert report or expert affidavit by
each person defendant may cali to testify as an expert witness at the hearing on class
certification).

10. All discovery motions regarding class certification fact discovery shall be
filed by October 1, 2007.

11. All expert discovery related to class certification shall be completed no

later than October 19, 2007.

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12. On or before November 15, 2007, plaintiffs shall file their motion for and
memorandum in support of class certification.

13. On or before December 7, 2007, defendant shall file its memorandum in
opposition to plaintiffs’ motion for class certification.

14. On ,at__—_, a hearing before the Court on plaintiffs’ motion
for class certification shall occur.

15. If the Court requests that the parties submit proposed findings of fact
and/or conclusions of law on class certification, these shall be due as the Court may require.

E. Merits Phase (Case Nos. 3:05-CV-00716; 3:05-CV-00718; and 3:05-CV-
00719). As of the date of this Order, no plaintiff is a resident of this District and defendant
contends that there is no case that is a viable candidate for trial in this District. Further, plaintiffs
also have not clarified whether the three actions originally filed in this district as nationwide
personal injury class actions will be abandoned or otherwise converted into individual claims, or
whether a different type of class, such as a dental monitoring class, will be sought. Therefore,
defendant believes that a merits schedule leading to trial of any individual case should not be set.
However, in response to this Court’s request for a proposed trial schedule, defendant proposes
the following without waiving its right to challenge whether this District is a suitable trial venue
at the appropriate time.

1. On December 7, 2007, the parties may commence additional discovery
related to the merits of the claims and defenses of the cases.
2. On or before January 4, 2008, the parties shall file any motions to name

additional parties or to amend their pleadings. The Court shall sever any joint actions into single

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plaintiff actions, except that loss of consortium claims will remain in the same action as the
related injury claims.

3. On or before January 7, 2008, the parties shall brief the appropriate venue
of the severed actions for trial.

4, Should any individual action(s) be tried in this Court, the individual
action(s) shall proceed on separate tracks so as to stagger trial and other key dates. Separate
scheduling orders will be entered in each case after consideration of this Court’s docket. Parties
can expect the first case to proceed on the following schedule, with deadlines in the remaining
cases to be staggered by at least three to six weeks.

5. On or before February 8, 2008, plaintiff shall provide defendant with
plaintiff's Fed. R. Civ. P. 26(a)(2) disclosures and serve defendant with reports or affidavits of
testifying experts.

6. On or before March 7, 2008, defendant shall provide plaintiff with its Fed.
R. Civ. P. 26(a)(2) disclosures and serve plaintiff with reports or affidavits of its testifying
experts.

7. On or by March 14, 2008, all fact discovery shall be completed.

8. On or before March 24, 2008, plaintiff may supplement plaintiff's expert
reports or expert affidavits. No further supplementation shall be permitted. The opportunity for
supplementation, as it relates to expert reports or affidavits, is not intended to excuse plaintiff
from fully complying with initial expert disclosure obligations, but instead is intended to provide

for disclosure of expert work that is truly in the nature of rebuttal to defendant’s expert(s).

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9. All discovery motions regarding merits discovery shall be filed by April 4,
2008.

10. Onor before April 11, 2008, defendant may supplement its expert reports
or expert affidavits. No further supplementation shall be permitted. The opportunity for
supplementation, as it relates to expert reports or affidavits, is not intended to excuse defendant
from fully complying with its initial expert disclosure obligations, but instead is intended to
provide for disclosure of expert work that is truly in the nature of sur-rebuttal to plaintiff's
expert(s).

11. On or by April 25, 2008, all expert discovery shall be completed.

12. Onor before May 16, 2008, the parties shall file all motions for summary
judgment, other potentially dispositive motions (including Fed. R. Civ. P. 12 motions), motions
related to the admissibility of expert testimony, and motions for a Daubert hearing.

13. By August 18, 2008, the parties shall file any motions in limine and any
motions objecting to expert testimony. Any responses to such motions shall be filed by August
25, 2008.

14. Counsel shall submit a Joint Proposed Pretrial Order to the Court by
August 25, 2008. The Pretrial Order shall contain: (1) a recitation that the pleadings are
amended to conform to the Pretrial Order and that the Pretrial Order supplants the pleadings; (2)
a statement of the basis for jurisdiction in this Court; (3) a short summary of plaintiff's theory (no
more than one page); (4) a short summary of defendant’s theory (no more than one page); (5) a

statement of the issues, including a designation of which issues are for the jury and which are for

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the Court; (6) a succinct statement of the relief sought; (7) a summary of any anticipated
evidentiary disputes; and (8) an estimate of the anticipated length of the trial.
15. Also by August 25, 2008, the parties shall submit to the Court:
a. Joint proposed jury instructions and verdict forms as follows:

i. Counsel shall exchange proposed jury instructions on the
substantive law of this specific case and proposed verdict forms and confer to reach agreement.
Thereafter, counsel shall jointly prepare and file a set of agreed, proposed, case specific, jury
instructions and verdict forms. Each proposed jury instruction shall begin on a new page and
shall include citations to supporting authorities. Counsel shall separately file any disputed jury
instructions or verdict forms.

il. Certain standard, non-case specific jury instructions
generally used by the Court are available on the Court’s website:
http//www.tnmd.uscourts.gov/Campbell.html. Counsel with internet access shall file any
objections to these standard jury instructions.

If possible, the parties shall submit a Word Perfect
compatible computer disk of the agreed proposed jury instructions and verdict forms with the
hard copy;

b. Witness lists, except for witnesses solely for impeachment in
accordance with Fed. R. Civ. P. 26(a)(3);

c. Exhibit lists, except for documents solely for impeachment in
accordance with Fed. R. Civ. P. 26(a}(3); and

d. Any stipulations.
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16. | Counsel for the parties shall appear for a Pretrial Conference in this Court
on September 8, 2008 at . All lawyers who will participate in the trial must attend
the pretrial conference.

17. Trial Date: September 15, 2008 at

F. Defendant’s Proposed Schedule for the Remaining MDL Cases.

1. Discovery of those cases transferred to MDL 1760 other than Case Nos.
3:05-CV-00716; 3:05-CV-00718; and 3:05-CV-00719 shall commence with the transmission by
Plaintiffs’ Liaison Counsel or his designee on December 27, 2006 of a blank PFS (as described
elsewhere in this Order) to each plaintiff whose claims were originally filed in or before January
2006 and who was not part of the Wave One Plaintiffs. Plaintiffs’ Liaison Counsel shall certify
transmission of the PFS to each plaintiff to Defendant’s Lead Counsel. These plaintiffs shall
constitute “Wave Two Plaintiffs” for purposes of discovery of plaintiffs.

2. On or before February 12, 2007, each Wave Two Plaintiff shall serve a
PFS, complete in all respects (as defined elsewhere in this Order), upon Defendant’s Lead
Counsel.

3. One hundred and fifty days (150) after submission by each plaintiff of a
PFS that is compete in all respects, defendant may commence depositions regarding Wave Two
Plaintiffs, including but not limited to depositions of Wave Two Plaintiffs, treating and
consulting physicians, and family and friends of Wave Two Plaintiffs.

4, On or before May 14, 2007, Plaintiffs’ Liaison Counsel shall transmit a

blank PFS to each plaintiff whose case was originally filed in February 2006. Plaintiffs’ Liaison

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Counsel shall certify transmission of the PFS to each plaintiff to Defendant’s Lead Counsel.
These plaintiffs shall constitute “Wave Three Plaintiffs” for purposes of discovery of plaintiffs.

5. On or before June 28, 2007, each Wave Three Plaintiff shall serve a PFS,
complete in all respects (as defined elsewhere in this Order), upon Defendant’s Lead Counsel.

6. One hundred and fifty days (150) after submission by each plaintiff of a
PFS that is compete in all respects, defendant may commence depositions regarding Wave Three
Plaintiffs, including but not limited to depositions of Wave Three Plaintiffs, their treating and
consulting physicians, and family and friends of Wave Three Plaintiffs.

7. Discovery of plaintiffs in cases filed in months following February 2006
shall commence in later waves. The commencement of discovery for each wave shall occur 90
days after the due date for PFSs complete in all respects from the prior wave of platntiffs, e.g.,
discovery of “Wave Four Plaintiffs” shall commence with transmission of a PFS on September
26, 2007 to plaintiffs whose cases were originally filed in March 2006.

8. As provided for elsewhere in this Order, depositions of the remaining
waves of plaintiffs, their treating and consulting physicians, and their family and friends, may
commence 150 days after each plaintiff has completed the PFS in all respects.

9. Case-specific fact discovery in each specific action shall be completed no
later than twelve (12) months after the date upon which each plaintiff in the specific action
provides a PFS complete in all respects to defendant.

10. After the completion of case specific fact discovery, counsel of record for
any party to a case transferred to MDL 1760 may file a Petition for Suggestion of Remand Order

as described above.

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It is so ORDERED this day of , 2006.

 

JOE B. BROWN
United States Magistrate Judge

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Exhibit A

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VIA U.S. MAIL

[Recipient Name and Address]

Re: Medical Records for
v. Novartis Pharms. Corp., No. (M.D. Tenn.)
Plaintiff: ; SSN
DOB:

Dear Dr:

You provided medical treatment to [Plaintiff's name]. [Plaintiff's name] is currently a
plaintiff in litigation against Novartis Pharmaceuticals Corporation pending in the United States
District Court for the Middle District of Tennessee captioned [specific case caption]. Records
regarding your care and treatment of [Plaintiff's name] may be sought in that litigation.

You are hereby notified that, on ,20 _, the Court entered an Order precluding
the “altering, destroying, permitting the destruction of, or in any other fashion changing any
document or tangible item in the actual or constructive care, custody, or control of such person
that is reasonably within the scope of discovery in this case, wherever such document or tangible
item is physically located.” Order of __, 2006 at__. The medical records related to [Plaintiff's
name] in your possession reasonably fall within the scope of discovery in this case. In
accordance with the Court’s Order, you should take any and all appropriate steps to ensure that
those records, including x-ray films and any other images, are not altered, destroyed, or otherwise
changed until such time as the above-referenced litigation is completed.

Thank you for your attention to this matter.

Plaintiff's Counsel

ce: Joe G. Hollingsworth, Esq.
Katharine R. Latimer, Esq.

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